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                  11
                          Attorneys for Defendants
                  12      PASSES, INC. and LUCY GUO
                  13
                  14                       IN THE UNITED STATES DISTRICT COURT
                  15                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
                  16                                       WESTERN DIVISION
                  17
                          FAMOUS BIRTHDAYS, LLC, a                     Case No. 2:24-cv-08364-CBM-SSC
                  18      California limited liability company,
                                                                       DECLARATION OF CONNOR
                  19                      Plaintiff,                   SWEENEY IN SUPPORT OF
                                                                       OPPOSITION TO PLAINTIFFS
                  20            v.                                     MOTION FOR PRELIMINARY
                                                                       INJUNCTION
                  21      PASSES, INC., a Delaware
                          corporation; and LUCY GUO, an                Date:      December 3, 2024
                  22      individual,                                  Time:      10:00 a.m.
                  23                                                   Ctrm.:     8-D
                                          Defendants.                  Judge:     Hon. Consuelo B. Marshall
                  24
                  25                                                   Action Filed:    September 27, 2024

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                      1              DECLARATION OF ATTORNEY CONNOR SWEENEY
                      2         I, Connor Sweeney, declare as follows:
                      3         1.     I have personal knowledge of the matters stated herein, and, if called as
                      4   a witness, I would and could competently testify as to the following. I make this
                      5   declaration in support of Passes Opposition to Plaintiff Famous Birthdays, LLCs
                      6   (Famous Birthdays) Motion for Preliminary Injunction (the Opposition).
                      7         2.     I am a former employee of Defendant Passes, Inc. (Passes). Prior to
                      8   my departure, I served as the Chief of Staff and reported to Lucy Guo (Ms. Guo),
                      9   the founder and CEO of Passes. I left Passes in April 2024 to take a different role in
                  10      the content creator space.
                  11            3.     On or about February 26, 2024, I contacted Zach Ferraro to discuss a
                  12      partnership between Passes and Famous Birthdays. Zach Ferraro was a business
                  13      executive at Famous Birthdays at the time. In our conversations, we specifically
                  14      discussed a partnership wherein Passes uses Famous Birthdays Pro services in
                  15      exchange for a fee. I understand Evan Britton (founder and CEO of Famous
                  16      Birthdays) has alleged that he negotiated the services agreement. See Declaration
                  17      of Evan Britton in Support of Motion for Preliminary Injunction (Dkt. 11-1, Britton
                  18      Decl.), ¶ 15. I do not recall Mr. Britton being involved in negotiations.
                  19            4.     On February 28, 2024, Mr. Ferraro emailed me a copy of Famous
                  20      Birthdays proposed services agreement for what Mr. Ferraro described as the
                  21      Premiere tier, which cost $5,000 per month.      I do not recall any modifications
                  22      being made before the agreement before it was signed.
                  23            5.     On February 29, 2024, I signed the services agreement between Famous
                  24      Birthdays and Passes (the Services Agreement). Attached hereto as Exhibit A is
                  25      a true and correct copy of the Services Agreement.
                  26            6.     On or about March 5 and March 6, 2024, Famous Birthdays gave Passes
                  27      login credentials and a token to use Famous Birthdays Pro services.
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                      1         I declare under penalty of perjury under the laws of the United States of
                      2   America that the foregoing is true and correct.
                      3         Executed on November 12, 2024.
                      4
                      5                                                      CONNOR SWEENEY
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                   EXHIBIT A




                   EXHIBIT A
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 1. PURPOSE

 Famous Birthdays creates and collects information about celebrities that it provides through its
 Famous Birthdays Pro subscription service. Passes (“Customer”) wishes to subscribe to Famous
 Birthdays Pro. Accordingly, the parties agree to subscription terms below.

 2. FAMOUS BIRTHDAYS PRO SERVICES (the “Services”)

     2.1. Rising Stars. Once per week, Famous Birthdays shall provide Customer a Rising Stars
          list featuring 25 creators profiled on the Famous Birthdays platform. The parameters
          governing selection of Rising Stars creators shall be left to Famous Birthdays’ sole
          discretion.

     2.2. Rank Graph Search. Famous Birthdays shall provide Customer with 2,500 searches
          per month of historical rank graphs for creators profiled on the Famous Birthdays
          platform

          Report Search. Famous Birthdays shall provide Customer with 100 Report Searches
          per month

          API Access. Famous Birthdays shall provide customer with access to the Famous
          Birthdays Pro API: Which includes the same data and allotments that are available via
          the Famous Birthdays Pro dashboard

     2.5. Payment amount. Customer shall pay Famous Birthdays $5,000 USD per month, to
          be paid net 30 of receipt of the applicable invoice, for ongoing access. Customer to
          receive a 10% discount if they elect to convert to an annual agreement.

 3. TERM AND TERMINATION

     3.1. Term. This Agreement shall continue until terminated

     4.2. Termination for Convenience. Either party can terminate this Agreement for convenience
 on three days’ written notice.

     4.3. Effect of Termination. Any terms of this Agreement which must reasonably survive
     termination in order to have full effect shall survive termination.

 4. INTELLECTUAL PROPERTY

     4.1. License to Famous Birthdays’ Intellectual Property. The data and information made
          available through the Services (the “Data”) are the intellectual property of Famous
          Birthdays. Famous Birthdays hereby grants Customer a license to make non-public,
          internal use of the data for Business Purposes of the Customer for the duration of the
          term of this Agreement. Customer shall not transfer, sell, or publicly display the data.
          Notwithstanding the forgoing, Customer may use the data in a manner that would
          otherwise be restricted by this Agreement where such Data is, through no fault of
          Customer’s, unprotectable under applicable law.
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     4.2. No License to Marks. Nothing in this Agreement grants either party any license to use
          the other’s trademarks, service marks, or logos.

 5. WARRANTIES

          6.1 FAMOUS BIRTHDAYS’ DISCLAIMER OF WARRANTIES. All information and
              services provided under this Agreement are provided “as is”: Famous Birthdays
              disclaims all other warranties, whether express or implied; Famous Birthdays
              specifically disclaims all implied warranties of merchantability, accuracy, and fitness
              for a particular purpose.

 6. MUTUAL LIMITATION OF LIABILITY

 To the maximum extent permitted by applicable law, in no event shall either party be liable for any
 lost profits or for any indirect, incidental, special, or consequential damages arising out of or
 related to this Agreement, regardless of whether advised of the possibility of such damages.

 7. MUTUAL INDEMNIFICATION

 Each Party shall indemnify, defend, and hold harmless the other, including the other’s directors,
 officers, successors and assigns, from and against all liabilities and costs arising out of any claim,
 suit, proceeding or cause of action against any of them by a third party resulting from (i) the
 indemnifying Party’s negligent or intentionally wrongful acts or omissions, or (ii) any breach of the
 indemnifying Party’s representations and warranties in this Agreement.

 8. GENERAL TERMS

     8.1. Disputes; Governing Law; Venue. This Agreement shall be governed by the laws of
          California, without regard to its conflict of law principles. The courts located in Los
          Angeles County, California, shall have exclusive jurisdiction over any dispute between
          the parties concerning this Agreement. The parties agree the venue of these courts is
          proper and submit to their jurisdiction, waiving any claim that such a proceeding has
          been brought in an inconvenient forum or that the venue of that proceeding is improper.

     8.2. No Waiver. No failure or delay by either party in exercising any right under this
          Agreement shall constitute a waiver of that right.

     8.3. Entire Agreement. This Agreement embodies the parties’ entire agreement and
          supersedes and cancels any prior agreement, express or implied, written or oral, with
          respect to its subject matter.



  For Famous Birthdays:                                 For Customer:




  Name:                                                 Name:
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  Date:                               Date:
